        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 1 of 14




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

Tonya Lacenere,                             )
                                            )
       Plaintiff,                           )           Civil Action File No.:
                                            )
vs.                                         )
                                            )
Professional Finance Company,               )           COMPLAINT WITH
                                            )          JURY TRIAL DEMAND
       Defendant                            )
                                            )

                        PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. § 1692 et seq. and the Georgia Fair Business Practices Act,

(GFBPA) O.C.G.A. 10-1-390 et seq.

                                    PARTIES

      1.     Plaintiff, Tonya Lacenere, is a natural person who resides in Cherokee

County, Georgia.

      2.     Defendant, Professional Finance Company, is a corporation

headquartered in Colorado but registered to do business in Georgia. Defendant may



                                        1
        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 2 of 14




be served with process via its registered agent, Corporation Service Company at 2

Sun Court, Suite 400, Peachtree Corners, Georgia 30092.

                          JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Court has personal jurisdiction over Defendant because, inter alia,

Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Venue is proper in the Atlanta Division because the Defendant

maintains a Registered Agent in Gwinnett County, Georgia.

                            FACTUAL ALLEGATIONS

      7.     Plaintiff is a 41-year-old woman with deteriorating health. She is

disabled, unable to engage in competitive employment, and is in the process of

obtaining disability insurance benefits through the Social Security Administration.


                                          2
        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 3 of 14




      8.      Plaintiff is allegedly obligated to pay a consumer debt arising out of

medical services and is, therefore, a “consumer”, as that term is defined by 15 U.S.C.

§ 1692a(3).

      9.      Defendant is a collection agency specializing in the collection of

consumer debt.

      10.     Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

      11.     Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

      12.     Defendant is, therefore, a “debt collector” as that term is defined by 15

U.S.C. § 1692a(6).

      13.     On July 7th, 2021, the Plaintiff obtained a copy of her credit file as

published by TransUnion, a major credit reporting bureau.

      14.     At that time, she noted a tradeline being reported by the Defendant as

in collection which she did not recognize. Per the tradeline, the Defendant is

collecting a debt for RMC Stringfellow in the amount of $754.00 for alleged medical

services. A reproduction of this tradeline appears below:




                                           3
        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 4 of 14




      15.    Defendant’s communication of this information to TransUnion was in

furtherance of its efforts to collect this debt from the Plaintiff.

      16.    On August 2nd, 2021, the Plaintiff called the number for Defendant as

published on her TransUnion report. At that time, she was connected with an

individual identifying themselves as “Kearsley.”

      17.    After verifying the Plaintiff's identity, the Defendant confirmed that it

was collecting an amount on behalf of RMC Stringfellow, but that the balance was

$803.36 as opposed to the $754.00 being reported to Plaintiff's credit file.

      18.    The Plaintiff advised the Defendant that she did not recognize this debt,

that she did not know who RMC Stringfellow was, and that she never lived at the

address the Defendant had on record.

      19.    The Plaintiff asked if the account had incurred fees or interest. The

Defendant responded that the account had accrued interest of $48.49. The call ended

shortly thereafter.



                                            4
        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 5 of 14




      20.   On April 15th, 2022, the Plaintiff again accessed her credit file as

reported by TransUnion. In reviewing that report she noted that as of April 10th,

2022, the Defendant again reported the account with RMC Stringfellow as in

collection and with an unpaid balance of $754.00. The pertinent portions of this

tradeline are reproduced below.




                                       5
        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 6 of 14




      21.   Identical information was communicated by the Defendant to Equifax,

another major credit reporting agency.



                                         6
         Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 7 of 14




       22.   As before, Defendant’s communications of this information to the

credit reporting bureaus was in furtherance of its efforts to collect this debt from the

Plaintiff.

       23.   At this point, the Plaintiff suffered from a great deal of confusion as to

the balance that was being claimed. She did not know if it was the $754.00 listed on

her credit report or the significantly higher figure given to her by the Defendant

verbally.

       24.   She could not determine if the account was accruing interest. Defendant

verbally represented that it was, but its communications with TransUnion and

Equifax indicate that it is not.

       25.   The inconsistent representations of Defendant hindered the Plaintiff’s

prioritization of her debt.

       26.   Upon information and belief, the medical services that were allegedly

provided to the Plaintiff occurred in Alabama. Alabama provides for prejudgment

interest to be awarded as damages by a court of law. See, Ala. Code § 8-8-1 (2018).

       27.   The application of prejudgment interest is not a given and must be

awarded by a court after the admission of evidence supporting such an award.

       28.   Defendant’s representation of a balance that included interest not yet

awarded was false and materially misleading.


                                           7
         Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 8 of 14




                                INJURIES-IN-FACT

       29.    Defendants acts and omissions caused particularized harm to the

Plaintiff in that the false and misleading information provided by Defendant

hindered the Plaintiff from making the necessary decisions regarding the

prioritization of her debt. In addition, the false and misleading representations by the

Defendant caused the Plaintiff to waste time and worry about the nature of the debt

and its status.

                                     DAMAGES

       30.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

       a.)    Being subjected to false, deceptive, and unfair debt collection practices;

       b.)    Confusion related to the Defendant’s credit reporting practice that

adversely impacted the Plaintiff’s ability to prioritize debt payments when they

were possible;

       c.)    Uncompensated time expended away from activities of daily living to

confer with counsel regarding the Defendant's collection efforts;

       d.)    The Defendant has made representations and communications to third

parties in connection with its efforts to collect the debt from the Plaintiff that are

akin to defamation, and that falsely represented the Plaintiff’s debt income ratio.


                                           8
        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 9 of 14




      e.)    Anxiety and worry caused by concern that Plaintiff was being called

upon to pay an improper and concern that Defendant was intending to engage in

false credit reporting. The anxiety and worry experienced by the Plaintiff was

sufficient to negatively affect her demeanor, her ability to engage in daily activities,

resulted in sleeplessness, and adversely affected her relationships with others.

                               CAUSES OF ACTION

                                      COUNT I

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
                    15 U.S.C. § 1692 et. seq.


Violations of 15 U.SC. § 1692e and its subparts

      31.    15 U.S.C. § 1692e specifically prohibits the use of any false, deceptive,

or misleading representations or means in connection with the collection of any debt.

      32.    The use of “or” in § 1692e means a representation violates the FDCPA

if it is false or deceptive or misleading. Bourff v. Rubin Lublin, LLC, 674 F.3d 1238,

1241 (11th Cir. 2012).

      33.    The standard in determining the nature of any such representation is

that of the “least sophisticated consumer.” Its purpose is to protect "naive

consumers" with a minimal understanding of personal finance and debt




                                           9
       Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 10 of 14




collection. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir.

2010) (per curiam).

      34.    Moreover, the least sophisticated consumer is not to be held to the same

standard as a reasonably prudent consumer. The least sophisticated consumer,

though not unreasonable, is "ignorant" and "unthinking," "gullible," and of "below-

average sophistication or intelligence," Pinson v. JPMorgan Chase Bank, Nat'l

Ass'n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at 12-13 (11th Cir. Nov. 12,

2019), quoting Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993)

      35.    A false representation in connection with the collection of a debt is

sufficient to violate the FDCPA, even if it is not alleged or proven to be misleading

or deceptive.

      36.    The Defendant’s false representations regarding accumulation of

interest obscure the status and amount of the debt in collection and impairs the

Plaintiff’s decision-making with respect to which delinquent accounts she should

address, and in what order.

      37.    Defendant’s representations regarding the accumulation and addition of

interest were a violation of 15 U.S.C. §§ 1692e, 1692e(2)(A), and 1692e(10).




                                         10
        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 11 of 14




      38.    The Defendant representations to both TransUnion and Equifax of the

total debt owed was objectively false and materially misleading and a violation of

15 U.S.C. §§ 1692e, and 1692e(8).

      39.    Alternatively, the Defendant’s representations to the Plaintiff as the

amount owed, being markedly different than that which it communicated to third

parties, was a violation of 15 U.S.C. §§ 1692e, 1692e(2)(A), and 1692e(10).

                                    COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT
                     O.C.G.A. § 10-1-390, et seq.

      40.    Plaintiff incorporates by reference paragraphs 1 through 40 as though

fully stated herein.

      41.    O.C.G.A. § 10-1-390 et seq is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      42.    The purpose of the GFBPA, is to protect consumers from unfair and/or

deceptive practices in the conduct of any trade or commerce in part or wholly in the

state. O.C.G.A. § 10-1-391.

      43.    O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15 U.S.C.

§ 45(a)(1), which implements the FDCPA.



                                        11
          Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 12 of 14




      44.      O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

      45.      Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

      46.      Defendant’s conduct has implications for the consuming public in

general.

      47.      Defendant’s conduct negatively impacts the consumer marketplace.

      48.      Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).

      49.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-399(a).

      50.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

      51.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).




                                           12
        Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 13 of 14




       52.    Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                  TRIAL BY JURY

       53.    Plaintiff is entitled to and hereby requests a trial by jury.

       WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

       a.)    Plaintiff’s actual damages;

       b.)    Statutory damages pursuant to 15 U.S.C. § 1692k;

       c.)    Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k

       d.)    General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-

399(a) & (c);

       e.)    Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-

399(d); and

       f.)    Such other and further relief as may be just and proper.

Respectfully submitted this 7th day of June, 2022.

[Signatures follow]




                                            13
Case 1:22-cv-02454-CAP Document 1 Filed 06/20/22 Page 14 of 14




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                              14
